     Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 1 of 25
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                    February 23, 2022
                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                               HOUSTON DIVISION

MACEY PROPERTY MANAGEMENT,                      §
LLC,                                            §
                                                §
                     Plaintiff,                 §
                                                §
v.                                              §        CIVIL ACTION NO. H-21-3943
                                                §
STARR SURPLUS LINES INSURANCE                   §
COMPANY, TIM FITZGERALD AND                     §
ALAN RUSCHER,                                   §
                                                §
                     Defendants.                §


                   MEMORANDUM OPINION AND ORDER OF REMAND
                   FOR LACK OF SUBJECT MATTER JURISDICTION

       On    December      12,     2021,    Defendant         Certain       Underwriters        at

Lloyd's          London     Subscribing             to      Policy      No.     PG170177l's

("Underwriters") filed a Notice of Removal ("Notice of Removal")

(Docket Entry No.           1).        Pending before the court is Plaintiff's

Motion to Remand (Docket Entry No. 3).                       For the reasons explained

below, Plaintiff's Motion to Remand will be granted.



                                        I. Background

       Plaintiff,         Macey Property Management,                 LLC,    initiated this

action      on    December       15,    2020,       by    filing    Plaintiff's     Original

Petition ("Plaintiff's Original Petition") in the 127th Judicial

District Court of Harris County,                         Texas,    Cause No.    2020-80109,

against one of its insurers, Starr Surplus Lines Insurance Company

("Starr"),        and against Tim Fitzgerald                  ("Fitzgerald"),      and Alan

Ruscher ("Ruscher"), the adjusters assigned to one of Plaintiff's
   Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 2 of 25




property damage claims, asserting causes of action arising from the

failure to pay insurance claims for damage caused by a tornado that

struck commercial properties owned by Plaintiff in Dallas, Texas,

on October 20, 2019. 1       Plaintiff asserted claims against Starr for

breach of contract, violation of the prompt payment provisions of

Texas Insurance Code§ 542.051, et seq., breach of the duty of good

faith and fair dealing, and claims against Starr, Fitzgerald and

Ruscher for unfair settlement practices in violation of § 541.151

of the     Texas     Insurance   Code. 2     Plaintiff's   Original   Petition

alleged that "Starr is a foreign surplus lines insurance company

engaged in the business of insurance in Texas, operating for the

purpose of accumulating monetary profit," 3 and that Fitzgerald and

Ruscher are Texas residents and adjusters licensed by the Texas

Department of Insurance. 4

     On January 10, 2021, Starr's counsel sent Plaintiff's counsel

a letter accepting liability for Fitzgerald and Ruscher pursuant to

Texas Insurance Code§ 542A.006(a). 5


     1
      Plaintiff's Original Petition, Exhibit 2 to Notice of
Removal, Docket Entry No. 1 -2, p. 2.    Page numbers for docket
entries in the record refer to the pagination inserted at the top
of the page by the court's electronic filing system.
     2
         Id. at 20-27��     52-74.
     3
         Id. at 2�    3.
     4
         Id. at 3�    4 (Fitzgerald) and�      5 (Ruscher).
     5
         Exhibit A to      Plaintiff's Motion to Remand,        Docket Entry
                                                              (continued...)
                                       -2-
   Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 3 of 25




     On June 4, 2021, counsel for Plaintiff and Starr entered a

negotiated Rule 11 agreement, which in pertinent part states that

     Plaintiff will effectuate the involuntary dismissal of
     both Tim Fitzgerald and Alan Ruscher from this lawsuit on
     or before July 1, 2021.    In exchange, Defendant agrees
     that it will not seek to remove this case from state to
     federal court or consent to the removal of this matter. 6

     On July 1, 2021, Plaintiff filed a Partial Notice of Non-Suit

with Prejudice as to defendants Fitzgerald and Ruscher. 7           On July

12, 2021, the state court judge signed an Order of Partial Non-Suit

with Prejudice as to Certain Defendants, which stated that

     [h]aving considered Plaintiff Macey Property Management,
     LLC's Partial Notice of Non-Suit with Prejudice, the
     Court is of the opinion that it should be GRANTED. It is
     therefore ORDERED that all claims and causes of action by
     Plaintiff against Defendants Tim Fitzgerald and Alan
     Ruscher in this action are hereby dismissed with
     prejudice, pursuant to Rule 162 of the Texas Rules of
     Civil Procedure and the June 4, 2021[,] Rule 11 between
     the parties. 8

     On July 7, 2021,          Plaintiff filed Plaintiff's First Amended

Petition against Starr, which added new defendants Chubb Custom

Insurance Company ("Chubb"), General Security Indemnity Company of

Arizona ("GISCA"), and Underwriters. 9         Plaintiff's First Amended



     5(
          •••   continued)
No. 3-1.
     6
      Exhibit B to           Plaintiff's Motion to Remand,   Docket Entry
No. 3-2, p. 2 <JI 5.
     7
         Exhibit 2 to Notice of Removal, Docket Entry No. 1-2, p. 33.
     8
         Exhibit 3 to Notice of Removal, Docket Entry No. 1-3, p. 3.
     9
         Exhibit 2 to Notice of Removal, Docket Entry No. 1-2, p. 35.

                                       -3-
   Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 4 of 25




Petition reasserts causes of action against Starr for breach of

contract, unfair settlement practices in violation of§§ 541.060(a)

and 541.151 of the Texas Insurance Code, violation of the prompt

payment provisions of Texas Insurance Code§ 542.051, et seq., and

breach of the duty of good faith and fair dealing for failure to

pay insurance claims arising from damage to commercial properties

owned by Plaintiff when a tornado struck Dallas, Texas, on October

20, 2019. 10     Plaintiff asserts causes of action against Starr and

the newly named defendants for breach of contract and violation of

the prompt payment provisions of Texas Insurance Code§ 542.051, et

� for failure to pay insurance claims for damage caused to

commercial properties owned by Plaintiff in Houston,             Texas,    by

Hurricane Harvey on August 27, 2017. 11

     On November 12, 2021, Plaintiff filed a Notice of Agreed Non­

Suit with Prejudice as to Starr, which the state court signed on

November 14, 2021.        The Notice of Non-Suit stated that

     [p]ursuant to Texas Rule of Civil Procedure 162,
     plaintiff         and defendant Starr         file this
     Notice of Agreed Non-Suit With Prejudice of Plaintiff's
     claims against Starr.     This notice disposes of all
     Plaintiff's causes of action against Starr only.
     Plaintiff's   claims    against    defendants   Certain
     Underwriters at Lloyd's, London Subscribing to Policy
     No. PG1701771 are unaffected by this agreed notice. 12


     10
          Id. at 55-58 '11'11 57-69.

     11   Id. at 58-59 '11'11 70-74.
     12
          Notice of Agreed Non-Suit with Prejudice as to Starr Surplus
                                                        (continued...)

                                       -4-
   Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 5 of 25


     On December 2, 2021, Underwriters removed Plaintiff's state

court action to this court stating that

     5.   Underwriters are the only remaining defendant in
     this action.

     6.   Underwriters timely filed this notice of removal
     within the 30-day period prescribed by 28 u.s.c.
     § 1446(b).



     7.   Removal is proper based on diversity of citizenship
     under 28 U.S.C. § 1332(a).

     8.         Plaintiff is a Texas citizen.

     9.   Effective November 12, 2021, Underwriters are the
     sole defendants in this action.

     10. Underwriters are foreign insurers.         Lloyd's
     Syndicate 0318 MSP and Lloyd's Syndicate 1967 WRB are
     not, and were not at the time Plaintiff commenced this
     action against them, citizens of Texas.

     11. Because    Plaintiff  is   a   Texas  citizen   and
     Underwriters are not citizens of Texas, there exists
     complete diversity of citizenship between Plaintiff and
     Underwriters. Removal is therefore appropriate on this
     basis.

     12. Plaintiff's live pleading, the Amended Petition,
     alleges damages in excess of $1,000,000.00, excluding
     interest and costs.

     13. Although Underwriters dispute liability and damages,
     it is evident from Plaintiff's Amended Petition that
     Plaintiff assets claims for monetary relief which, if
     granted, would exceed $75,000.00. Therefore, based on
     Plaintiff's claims for damages, the amount in controversy
     requirement is satisfied. All requirements are therefore
     met for removal under 28 U.S.C. §§ 1332 and 144l(b). 13



          continued)
     12 ( •••

Lines Insurance Company, Exhibit 3 to Notice of Removal, Docket
Entry No. 1-3, p. 6.
     13
          Notice of Removal, Docket Entry No. 1, pp. 2-3 �� 5-13.

                                     -5-
   Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 6 of 25



     On December 20, 2021, Plaintiff filed the pending Motion to

Remand arguing that the court lacks subject matter jurisdiction

because     "Underwriters       has    not    met    its   burden    to   prove    that

Fitzgerald and Ruscher were improperly joined in Macey's Original

Petition, " 14 and because "diversity jurisdiction of the various

entities     of    individuals       within    both   syndicates      has   not    been

distinctly and affirmatively demonstrated by Underwriters." 15

     On January 10, 2022, Underwriters filed an Amended Notice of

Removal identifying the policy period at issue,               16
                                                                   and a response to

Plaintiff's Motion to Remand asserting that "[d]iversity was not

created by an involuntary dismissal after a § 542A.006 election;

this action became removable due to Plaintiff's settlement and

express release of its claims against all non-diverse defendants

named in the lawsuit." 17

     On January 13, 2022, Underwriters filed a Supplemental Amended

Notice of Removal stating in pertinent part that searches of

underwriting member information for Lloyd's Syndicates 0318 and

1967 "revealed no individual member of the syndicate had a home

address     in    the   state   of    Texas    and    no   corporate      member    was


     14
          Plaintiff's Motion to Remand, Docket Entry No. 3, p. 3 � 4.
     15
          Id. � 5.
     16
          Docket Entry No. 7, p. 2 � 11.

      Defendants
     17
                   Certain             Underwriters  at   Lloyd's,   London
Subscribing to Policy No.              PG1701771's Response and Brief in
Opposition to Plaintiff's               Motion to Remand    ("Underwriters'
Response"), Docket Entry No.           8, p. 1 � 1.
                                         -6-
   Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 7 of 25



incorporated in, or had its principle place of business located in,

the state of Texas." 18

       On January, 18, 2022, Plaintiff filed a reply arguing that

"the Agreed Notice of Nonsuit filed on November 12, 2021[,] did not

make    this   case   removeable   under   28   U.S.C.   §   1446(b) (3),   as

Underwriters argue. " 19



                           II. Standard of Review

       Motions for remand are governed by 28 U.S.C. § 1447(c), which

states in pertinent part that "[ i] f at any time before final

judgment it appears that the district court lacks subject matter

jurisdiction, the case shall be remanded."          On a motion to remand

challenging subject matter jurisdiction, the defendant attempting

to establish removal bears the burden of establishing jurisdiction.

See Wilson v. Republic Iron & Steel Co., 42 S. Ct. 35, 37 (1921).

See also Manguno v. Prudential Property and Casualty Insurance Co.,

276 F.3d 720, 723 (5th Cir. 2002) ("The removing party bears the

burden of showing that federal jurisdiction exists and that removal

was proper.").        Because removal jurisdiction raises significant

federalism concerns, "[t] he removal statute is                     strictly


      Defendants
       18
                   Certain   Underwriters    at   Lloyd's,   London
Subscribing to Policy No. PG1701771's Supplemental Amended Notice
of Removal ("Underwriters' Supplemental Amended Notice of
Removal"), Docket Entry No. 11, p. 3 � 13 (Syndicate 0318) and� 14
(Syndicate 1967).

      Plaintiff's Reply to Defendant Underwriters' Response to
       19

Plaintiff's Motion to Remand ("Plaintiff's Reply"), Docket Entry
No. 13, p. 2 � 3.

                                    -7-
   Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 8 of 25




construed, and any doubt about the propriety of removal must be

resolved     in    favor      of    remand."     Gasch       v.   Hartford    Accident    &

Indemnity Co., 491 F.3d 278, 281-82 (5th Cir. 2007).



                                        III. Analysis

     Asserting that "the longstanding 'voluntary-involuntary rule'

prevents     a    non-removable           case   on    the   initial    pleadings      from

becoming removable, unless it becomes removable pursuant to a

voluntary        act    of   the     plaintiff[,]" 20         Plaintiff      argues    that

"Underwriters          cannot      rely    on    the    diversity      created    by   the

involuntary       dismissal        of     in-state     adjusters,      [Fitzgerald     and

Ruscher,] especially where the very same counsel that previously

represented       Starr      acknowledged        [Plaintiff]'s       dismissal    of the

adjusters would not affect the removabili ty of this matter." 21

Plaintiff argues that

     the Court lacks subject matter jurisdiction because
     Underwriters has not met its burden to prove that
     Fitzgerald and Ruscher were improperly joined in
      [Plaintiff]'s Original Petition.   Indeed, Underwriters
     does not even appear to dispute that [Plaintiff]'s
     Original Petition alleged a litany of facts that state at
     least one plausible claim against Fitzgerald and Ruscher.
     Texas law clearly establishes that Fitzgerald and Ruscher
     were properly joined because of their alleged violations
     of the Texas Insurance Code.22



     20
          Plaintiff's Motion to Remand, Docket Entry No. 3, p. 2 1 3.
     21   Id. at 2-3 1 3.


                                             -8-
   Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 9 of 25




Plaintiff also argues that "diversity jurisdiction of the various

entities      of   individuals   within    both   syndicates   has   not   been

distinctly and affirmatively demonstrated by Underwriters." 23

     Underwriters respond that

     [t] he Court should deny the motion to remand because
     Plaintiff's inability to recover from the released and
     dismissed former defendants renders the voluntary­
     involuntary rule inapplicable.      Even if this rule
     applied,   the settlement and release that created
     diversity in this case was a voluntary act by Plaintiff.
     Because Plaintiff's voluntary act resulted in the
     dismissal of all non-diverse defendants,        complete
     diversity exists and there is no basis for remand. 24

Underwriters also argue that "[t]o the extent Plaintiff's Motion to

Remand alleges that [they] did not sufficiently allege diversity,

Underwriters refers the court to its Amended Notice of Removal and

Exhibit A thereto. " 25

     For the reasons stated below the court concludes that the

Settlement Agreement and Nonsuit of Starr in November of 2021 did

not make that this action removable, and that even if the November

2021 Settlement Agreement and Nonsuit of Starr did make this action

removable, Underwriters have failed to show that the requirements

for establishing diversity jurisdiction are satisfied.




     23
          Id. <JI 5.
     24
          Underwriters' Response, Docket Entry No. 8, p. 2 <JI 2.
     25
          Id. at 8 <JI 21.

                                     -9-
     Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 10 of 25



A.     The Settlement Agreement and Nonsuit of Starr Did Not Make
       this Action Removable

       1.     Applicable Law

              (a)   Removal

       "Under 28 U.S.C. § 1441(a), any state court civil action over

which the federal courts would have original jurisdiction may be

removed from state to federal court."          See Gasch, 491 F.3d at 281.

Federal courts have original jurisdiction over civil actions where

the parties are diverse and the matter in controversy exceeds the

sum or value of $ 75, 000 ,      exclusive of interests and costs.            28

U.S.C. § 1332(a).      When original jurisdiction is based on diversity

pursuant to 28 U.S.C. § 1332, a defendant may remove only if none

"of    the   parties   in     interest   properly   joined   and   served     as

defendants is a citizen of the State in which such action is

brought."      28 U.S.C. § 1441(b)        See Whalen v. Carter, 954 F.2d

1087, 1094 (5th Cir. 1992) ("[A]          district court cannot exercise

diversity jurisdiction if one of the plaintiffs shares the same

state citizenship as one of the defendants.").           Nevertheless, when

the case is not initially removable because of the presence of a

non-diverse defendant,         a defendant may remove the case within

thirty days from ascertaining through other paper that the case has

become removable, provided that it does so within one year from the

commencement of the action if the basis of federal jurisdiction is

§ 1332.      28 U.S.C. § 1446(b)-(c).




                                      -10-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 11 of 25




           (b)     Voluntary-Involuntary Rule

     "[R]emovability under §§ 1441 and 1446 is subject to a judge­

made exception:      '[W]here the case is not removable because of

joinder of defendants,' only 'the voluntary dismissal or nonsuit by

[the plaintiff] of a party or of parties defendant' can convert a

nonremovable case into a removable one."           Hoyt v. Lane Construction

Coro., 927 F.3d 287, 295 (5th Cir. 2019) (quoting Great Northern

Railway   Co.    v. Alexander,   38    S.    Ct.   237,   239   (1918)).     The

"judicially-created voluntary-involuntary rule" provides that "an

action nonremovable when commenced may become removable thereafter

only by the voluntary act of the plaintiff." Id. (quoting Crockett

v. R.J. Reynolds Tobacco Co., 436 F.3d 529, 532 (5th Cir.), cert.

denied, 126 S. Ct. 2945 (2006)).



           (c)     Improper Joinder

     The doctrine of improper joinder ensures that the presence of

an improperly joined, non-diverse defendant does not defeat federal

removal jurisdiction based on diversity.                  Borden    v. Allstate

Insurance Co., 589 F.3d 168, 171 (5th Cir. 2009).                  The court may

ignore an improperly joined non-diverse defendant in determining

subject   matter    jurisdiction.        Smallwood    v.    Illinois     Central

Railroad Co., 385 F.3d 568, 572-73 (5th Cir. 2004) (en bane), cert.

denied, 125 S. Ct. 1825      (2005).        A removing party attempting to

prove improper joinder carries a heavy burden.             Great Plains Trust


                                      -11-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 12 of 25




Co. v. Morgan Stanley Dean Witter,               313 F.3d 305,      312    (5th Cir.

2002) .     To     establish     that    a   non-diverse    defendant      has   been

improperly joined in order to defeat diversity jurisdiction the

removing party must prove either (1) actual fraud in the pleading

of jurisdictional facts or              (2) an inability of the plaintiff to

establish a cause of action against the non-diverse defendant in

state court.        Gasch, 491 F.3d at 281 (citing Crockett, 44 F.3d at

532).     Underwriters have not argued actual fraud in the pleadings.

Instead,    Underwriters argue that following Plaintiff's voluntary

nonsuit     of     Starr   and   the     adjusters   for    whom   Starr    assumed

liability,       Plaintiff is unable to establish a cause of action

against any non-diverse defendant.



             (d)     Texas Insurance Code § 542A.006

        Section    542A.006      of   the    Texas   Insurance     Code   gives   an

insurance provider the option to assume legal responsibility for

any acts or omissions of one of its agents.                The relevant portions

of the statute state:

        (a)       in an action to which this chapter applies, an
        insurer that is a party to the action may elect to accept
        whatever liability an agent might have to the claimant
        for the agent's acts or omissions related to the claim by
        providing written notice to the claimant.

        (b) If an insurer makes an election under Subsection (a)
        before a claimant files an action to which this chapter
        applies, no cause of action exists against the agent
        related to the claimant's claim, and, if the claimant
        files an action against the agent, the court shall
        dismiss that action with prejudice.

                                          -12-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 13 of 25




     (c) If a claimant files an action to which this chapter
     applies against an agent and the insurer thereafter makes
     an election under Subsection (a) with respect to the
     agent, the court shall dismiss the action against the
     agent with prejudice.

Texas Insurance Code § 542A.006(a)-(c).

     "All     courts   seem    to    agree    that   an   insurer's       pre-filing

election requires district courts to disregard a non-diverse agent

joined as a defendant."             Kessler v. Allstate Fire and Casualty

Insurance Co., 541 F. Supp. 3d 718, 726 (N.D. Tex. 2021) (citations

omitted).     See also Shenavari v. Allstate Vehicle and Property

Insurance Co.,    448 F.Supp.3d 667,           671 & n. 2 (S.D. Tex. 2020)

("Courts agree that when an insurer makes its election before an

insured   files   suit    in    state    court,      then    a   dismissal       under

§ 542A.006 is tantamount to a finding of improper joinder if a

plaintiff-insured attempts to add the non-diverse adjuster to an

action.").     "Whether a § 542A.006 election that is made after an

insured files suit in state court but before the action is removed

renders   a   non-diverse      agent    an    improper      party   has    not   been

addressed by the Fifth Circuit."             Shenavari, 448 F.Supp.3d at 670-

71. "[I]f the insurer's election occurs post-filing, there are two

lines of cases."       Kessler, 541 F.Supp.3d at 727.

     One line of cases holds that "a § 542[A] .006 election made

after a lawsuit commences but before removal renders the in-state

adjuster improperly joined because the election, which requires

that the adjuster be dismissed with prejudice,                      precludes any


                                       -13-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 14 of 25




recovery against the adjuster."             Id. at 727 (quoting Ramirez v.

Allstate Vehicle and Property Insurance Co., 490 F. Supp.3d 1092,

1103    (S.D.   Tex.   2020)).      This line of cases focuses on the

possibility of recovery from the non-diverse adjuster at the time

of removal and after election of liability instead of at the time

of filing.       Kessler, 541 F.Supp.3d at 721.          Because there is no

possibility      a   plaintiff    will    recover   against   the   non-diverse

defendant in state court following an insurer's post-suit election

under § 542A.006,          Ramirez found im proper joinder and denied the

plaintiff's motions to remand.            490 F.Supp.3d at 1098-1114.

       Another line of cases holds that "the timing of an insurer's

election is critical to a court's improper joinder inquiry .

[If the] election is made after an insured commences an action, a

diverse defendant-insurer cannot rely solely on the fact that the

insured is now prohibited from recovering against the non-diverse

adjuster."       Id. at 727       (quoting Stephens v. Insurance Co. of

Indiana,   No. 4:18-CV-595,        2019 WL 109395,      at *6-*7    (E.D. Tex.

January 4,      2019) ).     This line of cases focuses on whether the

parties were improperly joined at the time of joinder, and holds

that an insurer's§ 542A.006 election after a lawsuit has commenced

does not by itself establish improper joinder.            See Shenavari, 448

F.Supp.3d at 671.       Even though there is no possibility a plaintiff

will recover against the non-diverse defendant in state court

following an insurer's post-suit election, courts following this


                                         -14-
   Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 15 of 25




line of cases have declined to find improper joinder and granted

motions to remand.         See Kessler, 541 F.Supp.3d at 727.            See also

Scout 5 Properties, LLC v. Acadia             Insurance Co.,    Civil Action

No. 2:21-CV-00231-JRG-RSP, 2021 WL 5051564 (E.D. Tex. October 31,

2021).     The court agrees with the reasoning of these cases.



     2.      Application of the Law to the Facts

     This case was initially not removable because defendants

Fitzgerald and Ruscher are Texas citizens and forum defendants

under 28      U.S.C.   §   144l(b)       Following   Starr's   acceptance of

liability as to Fitzgerald and Ruscher pursuant to § 542A.006 of

the Texas Insurance Code,            Plaintiff filed a notice of nonsuit

dismissing all its claims against Fitzgerald and Ruscher on July 1,

2021. The parties agree that the July 2021 dismissal of Fitzgerald

and Ruscher did not make this case removable at that time,                        but

disagree as to the reasons why.          Underwriters argue that dismissal

of the Adjusters did not create diversity because Starr is a

citizen of Texas; 26 while Plaintiff, relying on the Stephens, 2019

WL 109395, at *6-*7, line of cases, argues that the case remained

nonremovable because Plaintiff's nonsuit of the adjusters was

involuntarily. 27




     26
          Underwriters' Response, Docket Entry No. 8, pp. 5-8          <JI<JI   12-20.
     27
          Plaintiff's Reply, Docket Entry No. 13, pp. 2-3        <JI   3.

                                       -15-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 16 of 25




       On November 12, 2021, Plaintiff filed a second notice of

nonsuit in state court dismissing all its claims against Starr. 28

Less than thirty days later on December 2, 2021, Underwriters filed

the Notice of Removal in which they assert that the November 12,

2021, notice of nonsuit left them as the only remaining defendant

in this action,29 and that removal is proper because there exists

complete diversity of citizenship between Plaintiff and Defendants,

and    because     Plaintiff's             Amended       Petition   asserts        claims         for

monetary relief which, if granted, would exceed $75,000.00. 30

       In response to Plaintiff's Motion to Remand, Underwriters

argue that "[t]his action became removable when Plaintiff settled,

released, and dismissed all its claims against all non-diverse

defendants             �'           Starr    and        both   Adjusters. " 31              Although

Underwriters argue that Starr is a citizen of Texas, 32 Underwriters'

fail to cite any evidence or authority in support of their argument

that    Starr     is     a    citizen       of    Texas.       Moreover,         Underwriters'




      Notice of Agreed Non-Suit with Prejudice as to Starr Surplus
       28

Lines Insurance Company, Exhibit 3 to Notice of Removal, Docket
Entry No. 1-3, p. 6.
       29
            Notice of Removal, Docket Entry No. 1, p. 2                    <JI   5.

      Id. at 2-3 <JI<Jl 7-12. Underwriters fail to explain - and the
       30

court is unable to discern from the record         how the case was
resolved as to the other insurance company defendants added by
Plaintiff's First Amended Petition,�' Chubb and GISCA.
       31
            Underwriters' Response, Docket Entry No. 8, p. 6                          <JI   17.
       32
            Id. at 5-8   <Jl<Jl   12-20.

                                                 -16-
     Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 17 of 25




assertion that Starr is a citizen of Texas contradicts Plaintiff's

allegations that Starr is a foreign insurance company. 33                    Because

Underwriters      have   not   presented      any   facts     or   evidence     that

contradict      Plaintiff's    allegations       that   Starr      is    a   foreign

insurance company, the court relies on Plaintiff's allegations and

concludes that Starr's citizenship is diverse from Plaintiff's.

Because the court concludes that Starr's citizenship is diverse

from Plaintiff's, Plaintiff's settlement with and nonsuit of Starr

did    not   dismiss     Plaintiff's    claims      against    all      non-diverse

defendants as Underwriters argue.          Accordingly, the court concludes

that Underwriters' removal of this action was untimely because

neither Plaintiff's Settlement Agreement with Starr nor the Notice

of Non-Suit against Starr signed by the state court on November 14,

2021, were an "other paper" that made this action removable under

28 U.S.C. § 1446(c).



B.     Underwriters Have Not Established Diversity Jurisdiction

       On December 17, 2021, the court issued an Order for Conference

and Disclosure of Interested Parties (Docket Entry No. 2), stating

in pertinent part:


       See Plaintiff's Original Petition, Exhibit 2 to Notice of
       33

Removal, Docket Entry No. 1-2, p. 2 � 3 (stating that "Defendant
Starr is a foreign surplus lines insurance company engaged in the
business of insurance in Texas"), and Plaintiff's First Amended
Petition, Exhibit 2 to Notice of Removal, Docket Entry No. 1-2,
p. 35 � 3 (stating that "Defendant Starr is a foreign surplus lines
insurance company engaged in the business of insurance in Texas").

                                       -17-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 18 of 25




          NOTICE TO .    . REMOVING DEFENDANTS IN CASES BASED
     ON DIVERSITY JURISDICTION: Under 28 U.S.C. § 1332 there
     must be complete diversity between plaintiffs and
     defendants. Complete diversity requires that all persons
     on one side of the controversy be citizens of different
     states from all persons on the other side.      The party
     asserting federal jurisdiction has the burden to
     demonstrate that there is complete diversity.         The
     citizenship of limited liability companies is determined
     by the citizenship of their members. Harvey v. Grey Wolf
     Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). When
     members of a limited liability entity are themselves
     entities or associations, citizenship must be traced
     through however many layers of members there are until
     arriving at the entity that is not a limited liability
     entity and identifying its citizenship status.        See
     Mullins v. TestAmerica, Inc., 564 F3d 386, 397-98 (5th
     Cir. 2009). If the . . . Notice of Removal filed in this
     action does not show the citizenship of limited liability
     entities, the . . . removing defendant is ORDERED to file
            an Amended Notice of Removal within twenty days
     from the entry of this order. The failure of .          a
     removing defendant to file an Amended Notice of Removal
     alleging facts establishing complete diversity of
     citizenship in an action .       removed under 28 U.S.C.
     § 1332 may result in .    . remand of this action by the
     court on its own initiative without further notice. 34


     1.      Applicable Law

     Federal courts have original jurisdiction over civil actions

where the parties are diverse and the matter in controversy exceeds

the sum or value of $75,000, exclusive of interests and costs.             28

U.S.C. § 1332(a)        "Jurisdiction cannot be waived, and it is the

duty of a federal court first to decide, sua sponte if necessary,

whether it has jurisdiction before the merits of the case can be

addressed."      Filer v. Donley, 690 F.3d 643, 646 (5th Cir. 2012).



     34
          Docket Entry No. 2, p. 1 'll 3.

                                    -18-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 19 of 25




See also A.I.M. Controls,       L.L.C. v. Commissioner of         Internal

Revenue, 672 F.3d 390, 392 (5th Cir. 2012) ("Federal courts 'must

raise and decide jurisdictional questions that the parties either

overlook or elect not to press.'") (quoting Henderson ex rel.

Henderson v. Shinseki, 131 S. Ct. 1197, 1202 (2011)).            The court

"must presume that a suit lies outside [its] limited jurisdiction,

and the burden of establishing federal jurisdiction rests on the

party seeking the federal forum."          Howery v. Allstate Insurance

Co., 243 F.3d 912, 916 (5th Cir.), cert. denied, 122 S. Ct. 459

(2001). Underwriters, as the party asserting federal jurisdiction,

bear the burden to demonstrate complete diversity.         See De Aguilar

v. Boeing Co., 47 F.3d 1404, 1408 (5th Cir.), cert. denied, 116 S.

Ct. 180 (1995)

     A corporation is a citizen of both the state in which it is

incorporated and the state in which it has its principal place of

business.   28 U.S.C. § 1332(c) (1).      The citizenship of individuals

is based on domicile, i.e., where an individual resides and intends

to remain. Acridge v. Evangelical Lutheran Good Samaritan Society,

334 F.3d 444,    448 (5th Cir. 2003).        See also Preston v.      Tenet

Healthsystem Memorial Medical Center, Inc., 485 F.3d 793 799 (5th

Cir. 2007) (recognizing residence in a state is not sufficient to

establish citizenship). "The citizenship of a L [imited] L [iability]

C[ompany] is determined by the citizenship of all of its members."

Harvey, 542 F.3d at 1080.      See also Carden v. Arkoma Associates,


                                   -19-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 20 of 25




110 S. Ct. 1015, 1021 (1990) ("(W]e reject the contention that to

determine, for diversity purposes, the citizenship of an artificial

entity, the court may consult the citizenship of less than all of

the entity's members.      We adhere to our oft-repeated rule that

diversity jurisdiction in a suit by or against the entity depends

on the citizenship of 'all the members(.]'") (citations omitted).

     Because the unique manner in which Lloyd's policies are issued

and underwritten is critical to this case and partly responsible

for the court's resolution of Plaintiff's Motion to Remand,                a

primer of the Lloyd's system provided by the Fifth Circuit is

helpful:

          Lloyds of London is not an insurance company but
     rather a self-regulating entity which operates and
     controls an insurance market.         The Lloyd's entity
     provides a market for the buying and selling of insurance
     risk among its members who collectively make up Lloyd's.
       . Thus, a policyholder insures at Lloyd's but not with
     Lloyd's.

          The members or investors who collectively make up
     Lloyd's are called "Names" and they are the individuals
     and corporations who finance the insurance market and
     ultimately insure risks.       Names are underwriters of
     Lloyd's insurance and they invest in a percentage of the
     policy risk in the hope of making return on their
     investment          Each name is exposed to unlimited
     personal liability for his proportionate share of the
     loss on a particular policy that the Name has subscribed
     to as an underwriter.       Typically hundreds of Names
     will subscribe to a single policy, and the liability
     among the Names is several, not joint.

          Most Names or investors do not actively participate
     in the insurance market on a day to day basis.
     Rather, the business of insuring risk at Lloyd's is
     carried on by groups of Names called "Syndicates." .
     In order to increase the efficiency of underwriting

                                   -20-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 21 of 25



      risks, a group of Names will, for a given operating year,
      form a "Syndicate" which will in turn subscribe to
      policies on behalf of all Names in the Syndicate.     . A
      typical Lloyd's policy has multiple Syndicates which
      collectively are responsible for 100 percent of the
      coverage proved by a policy.              The Syndicates
      themselves have been said to have no independent legal
      identity.         Thus, a Syndicate is a creature of
      administrative convenience through which individual
      investors can subscribe to a Lloyd's policy. A Syndicate
      bears no liability for the risk on a Lloyd's policy.
      Rather, all liability is born by the individual Names who
      belong to the various Syndicates that have subscribed to
      a policy.



                     The Lloyd's corporate entity maintains
      records on the identity and last known residence of Names
      insuring risk in the Lloyd's market. That information is
      kept strictly confidential.

           In sum, while an insured receives a Lloyd's "policy"
      of insurance, what he has in fact received are numerous
      contractual commitments from each Name who has agreed to
      subscribe to the risk.      The Names are jointly and
      severally obligated to the insured for the percentage of
      the risk each has agreed to assume.

Corfield v. Dallas Glen Hills LP, 355 F.3d 853, 857-59 (5th Cir.

2003),     cert.   denied,   124   S.    Ct.    2421     (2004)    (citations and

footnotes     omitted).      Because      in    Corfield    the    Fifth    Circuit

determined that with respect to entities like Lloyd's that "a

federal court must disregard nominal or formal parties and rest

jurisdiction only upon the citizenship of real parties to the

controversy," id., the citizenship of each Name must be diverse

when the syndicate as a whole is sued.              See Park 10 Hospitality,

LLC   v.   Certain   Underwriters       at     Lloyd's   London,    Civil   Action

No. 4:19-CV-05013, 2020 WL 5554225, * 1 (S.D. Tex. September 16,

2020).

                                        -21-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 22 of 25




        2.        Application of the Law to the Facts

        As evidence that complete diversity exists in this case,

Underwriters have submitted Declaration of Gemma Jeffries,                            the

Claims         Property Adjuster,              for   Syndicate   318   on   Policy Number

PG1701771 issued to Plaintiff for the period February 1, 2017 to

February 1, 2018,              35
                                    stating:

        3.   A search of the syndicates and underwriting member
        information for Lloyd's Syndicate 0318 for the 2017 year
        was carried out on my behalf as Claims Property Adjuster.
        I was provided with the following information, and I am
        therefore able to make this Declaration.

        4.   The search revealed that there were no individual
        members of Lloyd's Syndicate 0318 with a home address in
        the state of Texas.

        5.   The search also revealed that there were no
        corporate members of Lloyd's Syndicate 0318 that were
        incorporated in, or had their principal place of business
        located in, the state of Texas. 36

Underwriters have also submitted the Declaration of Daniel Trenkel,

the Claims Management Practice Lead for W.R. Berkley Syndicate

1967, a subscribing syndicate to Policy No.                        PGl 701771 issued to

Plaintiff for the policy period February 1, 2017, to February 1,

2018,   37
              stating:


        35 Declaration
                    of Gemma Jeffries, Exhibit A to Defendants
Certain Underwriters at Lloyd's, London Subscribing to Policy
No. PGl 701771' s Supplemental Amended Notice of Removal, Docket
Entry No. 11-1, p. 1 <JI 2.
        36
             Id. <JI<JI 3-5.

      Declaration of Daniel Trenkel, Exhibit B to Defendants
        37

Certain Underwriters at Lloyd's, London Subscribing to Policy
                                                 (continued... )

                                                 -22-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 23 of 25




       3.   A search of the syndicates and underwriting member
       information for Lloyd's Syndicate 1967 for the 2017 year
       was carried out on my behalf as Claims Management
       Practice Lead. I was provided with the following
       information, and I am therefore able to make this
       Declaration.

       4.   The search revealed that there were no individual
       members of Lloyd's Syndicate 1967 with a home address in
       the state of Texas.

       5.   The search also revealed that there were no
       corporate members of Lloyd's Syndicate 1967 that were
       incorporated in, or had their principal place of business
       located in, the state of Texas. 38

       Because neither the            Jeffries declaration nor the Trenkel

declaration state whether the corporate Names are traditional

corporations or limited liability corporations, and do not identify

the corporations' states of citizenship, the court is not persuaded

that    the     declarations     are     sufficient    to    establish    complete

diversity of        citizenship.        See   Park    10   Hospitality,   2020 WL

5554225, * 1 (ordering Underwriters to file affidavits showing the

citizenship and risk participating of each Name subscribing to the

policies at issue)             See also Certain Underwriters at Lloyd's,

London v.       Gailes,   Civil Action No.      4:16-cv-77-DMB-JMV,       2016 WL

3033741, * 2        (N.D. Miss. May 26, 2016)        (rejecting contention that

reliance on affidavits stating that a search conducted by the lead

underwriter        "revealed     no    residents      of    Mississippi   in   any


       ( ••• continued)
       37

No. PGl 701771's Supplemental Amended Notice of Removal,                   Docket
Entry No. 11-2, p. 1 � 2.
       38
            Id. �� 3-5.

                                         -23-
     Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 24 of 25




underwriting syndicate associated with this policy" adequately

established diversity jurisdiction)                   Moreover, because the Order

for Conference dated December 17, 2021,                   warned Underwriters, as

removing defendants, that the failure to file a Notice of Removal

or    an Amended     Notice      of    Removal       alleging   facts   establishing

complete diversity may result in remand, and because despite having

filed three instruments purporting to allege facts establishing

complete diversity of citizenship, 39 Underwriters have not alleged

facts establishing complete diversity,                  the court concludes that

this    action    should    be    remanded       for    lack    of   subject   matter

jurisdiction.



                   IV.   Conclusions and Order of Remand

       For the reasons stated in§ III.A, above, the court concludes

that Underwriters'         removal of this action was untimely because

neither Plaintiff's Settlement Agreement with Starr nor the Notice

of Non-Suit against Starr signed by the state court on November 14,

2021, were an "other paper" that made this action removable under

28 U.S.C. § 1446(c).

       For the reasons stated in§ III.B, above, the court concludes

that    Underwriters'      have       failed    to    allege    facts   establishing

diversity jurisdiction.


      See Docket Entry No. 1 (Notice of Removal); Docket Entry
       39

No. 7 (Underwriters' Amended Notice of Removal); and Docket Entry
No. 11 (Underwriters' Supplemental Amended Notice of Removal).

                                         -24-
  Case 4:21-cv-03943 Document 17 Filed on 02/23/22 in TXSD Page 25 of 25




        Accordingly,   for the reasons stated in § III. A and III. B,

above, the court concludes that this action should be remanded to

the 127th Judicial District Court for Harris County,            Texas, for

lack of subject matter jurisdiction.           Accordingly,    Plaintiff's

Motion to Remand, Docket Entry No. 3, is GRANTED.

        This action is REMANDED to the 127th Judicial District Court

of Harris County, Texas.

        The Clerk of the Court will provide a copy of this Order of

Remand to the District Clerk of Harris County, Texas.

        SIGNED at Houston, Texas, on this the 23th day of February,

2022.




                                           SIM LAKE
                             SENIOR UNITED STATES DISTRICT JUDGE




                                   -25-
